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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                     )       Case No: 1:15 CV 1046
                                              )
       Plaintiff                              )
                                              )
         v.                                   )       JUDGE SOLOMON OLIVER, JR.
                                              )
CITY OF CLEVELAND,                            )
                                              )
       Defendant                              )       ORDER



       Currently pending before the court in the above-captioned case is Monitor Hassan Aden’s

(“Monitor”) Notice submitting four related documents: (1) Use of Force Supervisory Reviews and

Investigations Policy (“Supervisory Review Policy”); (2) Force Investigation Team (“FIT”) Manual;

(3) FIT General Police Order (“GPO”); and (4) Memorandum of Understanding Between the

Cleveland Division of Police (“CDP”) and the Cuyahoga County Sheriff’s Department to Conduct

Independent Criminal Investigations of Uses of Force by Cleveland Police That Result in the Actual

or Anticipated Death of a Person (“MOU”) (collectively, the “Policies”). (ECF No. 309.) The

Monitor represents that, collectively, the Policies “provide appropriate guidance on the thorough and

complete investigation of uses of force by CDP personnel.” (Id. at PageID #6674.) Although

questions remain regarding CDP’s approach to vehicular pursuits, the Monitor states that “CDP has

been willing to discuss solutions” and “is now working on creating a Pursuit Investigations Team

and an associated policy.” (Id. at PageID #6678.) Because “this new team will be separate from FIT,”

the Monitor states that “the time is now ripe to file the FIT Manual and related documents.” (Id.)

Pursuant to the Monitor’s recommendation, and with no objections from the Parties, the court
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approves the Policies, which meet the terms of the Consent Decree. Accordingly, the court orders

said Policies to be effective immediately.

       IT IS SO ORDERED.


                                                    /s/ SOLOMON OLIVER, JR.
                                                    UNITED STATES DISTRICT JUDGE


April 30, 2020




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